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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

          v.                                                    DECISION AND ORDER
                                                                     08-CR-142-2S
EDWIN MELENDEZ,

                           Defendant.


          1.   On June 4, 2009, the Defendant entered into a written plea agreement

(Docket No. 76) and pled guilty to Count 2 of the Superseding Indictment (Docket No. 34)

charging a violation of Title 21, U.S.C. Section 846 (conspiracy to distribute heroin) and

admitted to Count 4, a Forfeiture Allegation.

          2.   On June 4, 2009, the Honorable Jeremiah J. McCarthy, United

States Magistrate Judge, filed a Report and Recommendation (Docket No. 78)

recommending that Defendant’s plea of guilty be accepted and the Defendant adjudicated

guilty.

          3.   This Court has not received objections to the Report and Recommendation

in accordance with 28 U.S.C. §636(b)(1)(C) and Local Rule 58.2(a)(3).

          4.   This Court has carefully reviewed de novo Judge McCarthy’s June 4,

2009, Report and Recommendation, the plea agreement, transcript of the proceeding, and

the applicable law. Upon due consideration, this Court finds no legal or factual error in

Judge McCarthy’s Report and Recommendation, and will accept Judge McCarthy’s

recommendation that Defendant’s plea of guilty be accepted and that the Defendant be

adjudicated guilty as charged.
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      IT HEREBY IS ORDERED, that this Court accepts Judge McCarthy’s June 4, 2009,

Report and Recommendation (Docket No. 78) in its entirety, including the authorities cited

and the reasons given therein.

      FURTHER, that the plea of guilty of Defendant Edwin Melendez is accepted, and

he is now adjudged guilty of Title 21, U.S.C. Section 846.

      SO ORDERED.


Dated: July 23 , 2009
       Buffalo, New York


                                                       /s/ William M. Skretny
                                                        WILLIAM M. SKRETNY
                                                      United States District Judge




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